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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA                        :    CRIMINAL NO.
                                                 :
              v.                                 :    MAGISTRATE NO. 23-mj-00350
                                                 :
 TROY TERINO,                                    :    VIOLATIONS:
                                                 :
                   Defendant.                    :    40 U.S.C. § 5104(e)(2)(D)
                                                 :    (Disorderly Conduct in a Capitol Building
                                                 :    or Grounds)
                                                 :    40 U.S.C. § 5104(e)(2)(G)
                                                 :    (Parading, Demonstrating, or Picketing in
                                                 :    a Capitol Building)
                                                 :


                                    INFORMATION

       The United States Attorney charges that at all relevant times:


                                         COUNT ONE

       On or about January 6, 2021, in the District of Columbia, TROY TERINO willfully and

knowingly engaged in disorderly and disruptive conduct within the United States Capitol Grounds

and in any of the Capitol Buildings with the intent to impede, disrupt, and disturb the orderly

conduct of a session of Congress and either House of Congress, and the orderly conduct in that

building of a hearing before or any deliberation of, a committee of Congress or either House of

Congress.

       (Disorderly Conduct in a Capitol Building or Grounds, in violation of Title 40, United
       States Code, Section 5104(e)(2)(D))
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                                       COUNT TWO

       On or about January 6, 2021, in the District of Columbia, TROY TERINO willfully and

knowingly paraded, demonstrated, and picketed in any United States Capitol Building.

       (Parading, Demonstrating, or Picketing in a Capitol Building, in violation of Title 40,
       United States Code, Section 5104(e)(2)(G))

                                           Respectfully submitted,

                                           MATTHEW M. GRAVES
                                           UNITED STATES ATTORNEY
                                           D.C Bar No. 481052

                                       By: /s/ Sarah W. Rocha
                                          Sarah W. Rocha
                                          Trial Attorney / Detailee
                                          D.C. Bar No. 977497
                                          601 D Street, N.W.
                                          Washington, D.C. 205
                                          Telephone: (202) 330-1735
                                          sarah.wilsonrocha@usdoj.gov




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